               THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CIVIL CASE NO. 1:23-cv-00329-MR-WCM


GOOSMANN, ROSE, COLVARD &       )
CRAMER, P.A.,                   )
                                )
                   Plaintiff,   )
                                )
     vs.                        )               ORDER
                                )
HUDSON EXCESS INSURANCE         )
COMPANY and ROCKVILLE RISK      )
MANAGEMENT ASSOCIATES, INC., )
                                )
                   Defendants.  )
_______________________________ )

     THIS MATTER is before the Court sua sponte.

     On February 7, 2024, the Court entered a Pretrial Order and Case

Management Plan setting, inter alia, a mediation deadline of September 24,

2024, and a dispositive motions deadline of October 10, 2024. [Doc. 13]. To

date, the parties have not submitted a mediation report and no dispositive

motions have been filed.

     In light of the foregoing, the Court enters the following Order.

     IT IS, THEREFORE, ORDERED that the parties shall submit a

mediation report within seven (7) days of the entry of this Order. Failure to




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comply with this Order may result in the dismissal of this action without

prejudice.

     IT IS SO ORDERED.
                     Signed: November 6, 2024




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